     Case 1:16-cr-00122-DAD-BAM Document 223 Filed 04/04/18 Page 1 of 2


 1   DALE A. BLICKENSTAFF - #40681
     Attorney At Law
 2   7081 N. Marks Avenue, # 104
     Fresno, California 93711
 3   (559) 389-0239 Telephone
     (559) 436-0207 Facsimile
 4   Email: dabnabit74@gmail.com

 5   Attorney for Defendant,
     RAFAEL DELATORRE
 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:16-cr-00122-DAD-BAM-6
12                      Plaintiff,
13          v.                                         STIPULATION AND ORDER TO
                                                       CONTINUE HEARING
14   RAFAEL DELATORRE,
15                      Defendant.
16

17          It is hereby stipulated by and between McGregor Scott, United States Attorney and

18   Kimberly Sanchez, Assistant U.S. Attorney and Dale A. Blickenstaff, Attorney for the Defendant,

19   that the hearing date set for April 9, 2018, at 10:00 a.m. before the Honorable Dale A. Drozd be

20   continued to May 29, 2018, at 10:00 a.m.

21          A continuance of the hearing is necessary because Mr. DeLaTorre is currently undergoing

22   a mental evaluation at the Federal Facility at Butner, North Carolina. The evaluation of Mr.

23   DeLaTorre is to be completed on April 6, 2018, with a report due from the examiners within 14

24   working days from that date. A continuance of the hearing will allow the court and parties to

25   receive and review that evaluation.

26          The parties stipulate that the time until the next hearing should be excluded from the

27   calculation of time under the Speedy Trial Act. The parties stipulate tht the ends of justice are

28   served by the court excluding such time, so that counsel for the Defendant may have reasonable
                                                      1
     Case 1:16-cr-00122-DAD-BAM Document 223 Filed 04/04/18 Page 2 of 2


 1   time for effective preparation, taking into account the exercise of diligence. 18 U.S.C.

 2   3161(h)(7)(B)(iv). The parties stipulate and agree that the interests of justice served by granting

 3   this continuance outweigh the best interests of the public and the Defendant in a speedy trial. 18

 4   U.S.C. 3161(h)(7)(A).

 5          Dated: April 3, 2018            Respectfully submitted,

 6
                                            McGREGOR W. SCOTT
 7                                          United States Attorney
 8
                                            By /s/ Kimberly Sanchez
 9                                          KIMBERLY SANCHEZ, AUSA
10

11                                          By /s/ Dale A. Blickenstaff
                                            DALE A BLICKENSTAFF, Attorney for Defendant,
12                                          RAFAEL DELATORRE
13

14
                                                   ORDER
15
                             The court has reviewed and considered the stipulation of the parties to
16

17   continue hearing in this case. Good cause appearing, the hearing is as to Rafael DeLaTorre

18   currently set for April 9, 2018, is continued to May 29, 2018, at 10:00 a.m.

19
     IT IS SO ORDERED.
20
21      Dated:     April 3, 2018
                                                           UNITED STATES DISTRICT JUDGE
22

23

24

25

26
27

28
                                                       2
